             Case 2:05-cr-00090-MCE Document 169 Filed 03/06/07 Page 1 of 2

 1   WILLIAM L. OSTERHOUDT, ESQ. (SBN043021)
 2
     DOLORES T. OSTERHOUDT (SBN 215537)
     LAW OFFICES OF WILLIAM OSTERHOUDT
 3   135 Belvedere Street
     San Francisco, CA 94117
 4
     Telephone: (415) 664-4600
 5   Osterhoudt@aol.com

 6   Attorneys for Defendant
     HUGO RAMIREZ
 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                           )
11
                                           )
     UNITED STATES OF AMERICA,             )          No. CR S-05-0090 FCD
12
                 Plaintiff,                )
13                                         )          STIPULATION AND ORDER
           vs.                             )          CONTINUING MOTION HEARING
14
                                           )          DATE
     HUGO RAMIREZ, et al.,                 )
15
                  Defendants.              )
16                                         )
     _____________________________________ )
17
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18

19   counsel, Matthew Segal, Assistant United States Attorney, attorney for plaintiff United States of

20   America, on the one hand, and William Osterhoudt, Esq., attorney for defendant Hugo Ramirez,
21
     and Shari Rusk, attorney for defendant Robert Osborn, on the other, that the presently scheduled
22
     motion hearing date of March 19, 2007 be continued to Monday, March 26, 2007, at 10:00 am.
23
            The reason for this request is that attorney William Osterhoudt must be in court in the
24

25   Northern District of California (San Francisco) on the morning of March 19, 2007. He

26   inadvertently scheduled the March 19, 2007 motions date in this case in conflict with this earlier
27

28

     _______________________________________________________________________________________________
     Stipu lation and Ord er Con tinu ing Mo tion H e ar ing D a te
     [No.CR-S-05-0090(FCD)]
                                                          1
              Case 2:05-cr-00090-MCE Document 169 Filed 03/06/07 Page 2 of 2

 1   commitment, which involves pre-trial motions in connection with a challenge to extensive Title III
 2
     wiretaps.
 3
             It is further stipulated that time continues to be excluded pursuant to Title 18 U.S.C.
 4

 5   §3161(h)(1)(F); Local Code E.

 6

 7
                                                             Respectfully submitted,
 8
     Dated: March 2, 2007
 9
                                                             /s/ Matthew Segal (with consent)
10
                                                             MATTHEW SEGAL
11                                                           Assistant United States Attorney

12
                                                             /s/ Shari Rusk (with consent)
13                                                           SHARI RUSK
                                                             Attorney for Defendant Osborn
14

15
                                                             /s/ William L. Osterhoudt_____
16                                                           WILLIAM L. OSTERHOUDT
                                                             Attorney for Defendant Ramirez
17

18                                                   ORDER
19

20           Pursuant to stipulation of the parties, and good cause appearing therefrom, the Court hereby
21
     adopts the parties’ stipulation in its entirety as the Court’s findings and its order.
22

23

24
     Dated: March 6, 2007

25

26                                             _______________________________________
                                               FRANK C. DAMRELL, JR.
27                                             UNITED STATES DISTRICT JUDGE
28

     _______________________________________________________________________________________________
     Stipu lation and Ord er Con tinu ing Mo tion H e ar ing D a te
     [No.CR-S-05-0090(FCD)]
                                                          2
